Case 3:21-cv-01181-HES-PDB Document 7 Filed 01/28/22 Page 1 of 2 PageID 38


               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION


CAROLINA CARRASQUERO,

       Plaintiff,

      v.                                        Case No. 3:21-cv-01181-HES-PDB

VOYA INSTITUTIONAL PLAN
SERVICES, LLC,

      Defendant.


                    NOTICE OF PENDENCY OF OTHER ACTIONS

      In accordance with Local Rule 1.04(d), I certify that the instant action:

_____ IS            related to pending or closed civil or criminal case(s) previously
                    filed in this Court, or any other Federal or State court, or
                    administrative agency as indicated below:

      ___________________________________________________

      __________________________________________________

      ___________________________________________________

      ___________________________________________________

__X___IS NOT        related to any pending or closed civil or criminal case filed with
                    this Court, or any other Federal or State court, or administrative
                    agency.

     I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.

Dated: January 28, 2022

                                 Respectfully submitted,

                                 /s/ Cathy J. Beveridge
 Case 3:21-cv-01181-HES-PDB Document 7 Filed 01/28/22 Page 2 of 2 PageID 39


                                  Cathy J. Beveridge
                                  Florida Bar No: 831018
                                  cathy.beveridge@bpic.com
                                  Mia C. Larson
                                  Florida Bar No: 1031991
                                  mia.larson@bipc.com
                                  BUCHANAN INGERSOLL & ROONEY PC
                                  401 East Jackson Street, Suite 2400
                                  Tampa, Florida 33602
                                  Tel: (813) 222-8180
                                  Fax: (813) 222-8189



                           CERTIFICATE OF SERVICE

          The undersigned counsel hereby certifies that the foregoing document was

electronically filed this 28th day of January, 2022 by using the CM/ECF to the

following:


                            Archibald J. Thomas, III, Esq.
                            Samuel B. Kanupp, Esq.
                            Law Offices of Archibald J. Thomas, III, P.A.
                            4651 Salisbury Road, Suite 255
                            Jacksonville, FL 32256

                            Attorneys for Plaintiff

                                               /s/ Cathy J. Beveridge



4826-3818-9522, v. 1
